         Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 1 of 12 Page ID #:1



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 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     KIMBERLY FRAZIER,                               Case No.:
11
                 Plaintiff,                          COMPLAINT FOR INJUNCTIVE
12                                                   RELIEF AND DAMAGES FOR DENIAL
           vs.                                       OF CIVIL RIGHTS OF A DISABLED
13                                                   PERSON IN VIOLATIONS OF
14                                                   1. AMERICANS WITH DISABILITIES
                                                     ACT, 42 U.S.C. §12131 et seq.;
15   10588 PICO PROPERTIES, LLC; and
     DOES 1 to 10,                                   2. CALIFORNIA’S UNRUH CIVIL
16                                                   RIGHTS ACT;
                 Defendants.
17                                                   3. CALIFORNIA’S DISABLED
                                                     PERSONS ACT;
18
                                                     4. CALIFORNIA HEALTH & SAFETY
19                                                   CODE;
20                                                   5. NEGLIGENCE
21
22
23         Plaintiff KIMBERLY FRAZIER (“Plaintiff”) complains of Defendants 10588
24   PICO PROPERTIES, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:
25                                           PARTIES
26         1.    Plaintiff is a California resident with a physical disability. Plaintiff suffers
27   from paraplegia caused by spine injury from T9 down and is substantially limited in her
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                                           COMPLAINT - 1
         Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 2 of 12 Page ID #:2




 1   ability to walk. Plaintiff requires the use of a wheelchair at all times when traveling in
 2   public.
 3            2.   Defendants are, or were at the time of the incident, the real property owners,
 4   business operators, lessors and/or lessees of the real property for a gift shop (“Business”)
 5   located at or about 10590 W. Pico Blvd., Los Angeles, California.
 6            3.   The true names and capacities, whether individual, corporate, associate or
 7   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 8   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 9   Court to amend this Complaint when the true names and capacities have been
10   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
11   fictitiously named Defendants are responsible in some manner, and therefore, liable to
12   Plaintiff for the acts herein alleged.
13            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
14   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
15   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
16   the things alleged herein was acting with the knowledge and consent of the other
17   Defendants and within the course and scope of such agency or employment relationship.
18            5.   Whenever and wherever reference is made in this Complaint to any act or
19   failure to act by a defendant or Defendants, such allegations and references shall also be
20   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
21   and severally.
22                                 JURISDICTION AND VENUE
23            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
24   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
25   seq.).
26            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
27   arising from the same nucleus of operating facts, are also brought under California law,
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                                              COMPLAINT - 2
         Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 3 of 12 Page ID #:3




 1   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2   54, 54., 54.3 and 55.
 3         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 5   property which is the subject of this action is located in this district, Los Angeles County,
 6   California, and that all actions complained of herein take place in this district.
 7                                     FACTUAL ALLEGATIONS
 8         10.    In or about March of 2023, Plaintiff went to the Business.
 9         11.    The Business is a gift shop business establishment, open to the public, and is
10   a place of public accommodation that affects commerce through its operation. Defendants
11   provide parking spaces for customers.
12         12.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with her ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business.
15         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16   included, but were not limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to provide the parking space identification sign with the
20                       International Symbol of Accessibility.
21                b.     Defendants failed to comply with the federal and state standards for
22                       the parking space designated for persons with disabilities. Defendants
23                       failed to post required signage such as “Van Accessible,” “Minimum
24                       Fine $250” and “Unauthorized Parking.”
25         14.    These barriers and conditions denied Plaintiff the full and equal access to the
26   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
27   patronize the Business, however, Plaintiff is deterred from visiting the Business because
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                                            COMPLAINT - 3
         Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 4 of 12 Page ID #:4




 1   her knowledge of these violations prevents her from returning until the barriers are
 2   removed.
 3         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 4   there are additional barriers to accessibility at the Business after further site inspection.
 5   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 6   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 7         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 8   knew that particular barriers render the Business inaccessible, violate state and federal
 9   law, and interfere with access for the physically disabled.
10         17.    At all relevant times, Defendants had and still have control and dominion
11   over the conditions at this location and had and still have the financial resources to
12   remove these barriers without much difficulty or expenses to make the Business
13   accessible to the physically disabled in compliance with ADDAG and Title 24
14   regulations. Defendants have not removed such barriers and have not modified the
15   Business to conform to accessibility regulations.
16                                     FIRST CAUSE OF ACTION
17          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
18         18.    Plaintiff incorporates by reference each of the allegations in all prior
19   paragraphs in this complaint.
20         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
21   shall be discriminated against on the basis of disability in the full and equal enjoyment of
22   the goods, services, facilities, privileges, advantages, or accommodations of any place of
23   public accommodation by any person who owns, leases, or leases to, or operates a place
24   of public accommodation. See 42 U.S.C. § 12182(a).
25         20.    Discrimination, inter alia, includes:
26                a.     A failure to make reasonable modification in policies, practices, or
27                       procedures, when such modifications are necessary to afford such
28                       goods, services, facilities, privileges, advantages, or accommodations



                                            COMPLAINT - 4
     Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 5 of 12 Page ID #:5




 1                to individuals with disabilities, unless the entity can demonstrate that
 2                making such modifications would fundamentally alter the nature of
 3                such goods, services, facilities, privileges, advantages, or
 4                accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5          b.    A failure to take such steps as may be necessary to ensure that no
 6                individual with a disability is excluded, denied services, segregated or
 7                otherwise treated differently than other individuals because of the
 8                absence of auxiliary aids and services, unless the entity can
 9                demonstrate that taking such steps would fundamentally alter the
10                nature of the good, service, facility, privilege, advantage, or
11                accommodation being offered or would result in an undue burden. 42
12                U.S.C. § 12182(b)(2)(A)(iii).
13          c.    A failure to remove architectural barriers, and communication barriers
14                that are structural in nature, in existing facilities, and transportation
15                barriers in existing vehicles and rail passenger cars used by an
16                establishment for transporting individuals (not including barriers that
17                can only be removed through the retrofitting of vehicles or rail
18                passenger cars by the installation of a hydraulic or other lift), where
19                such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
20          d.    A failure to make alterations in such a manner that, to the maximum
21                extent feasible, the altered portions of the facility are readily
22                accessible to and usable by individuals with disabilities, including
23                individuals who use wheelchairs or to ensure that, to the maximum
24                extent feasible, the path of travel to the altered area and the
25                bathrooms, telephones, and drinking fountains serving the altered
26                area, are readily accessible to and usable by individuals with
27                disabilities where such alterations to the path or travel or the
28                bathrooms, telephones, and drinking fountains serving the altered area



                                     COMPLAINT - 5
         Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 6 of 12 Page ID #:6




 1                       are not disproportionate to the overall alterations in terms of cost and
 2                       scope. 42 U.S.C. § 12183(a)(2).
 3         21.    Where parking spaces are provided, accessible parking spaces shall be
 4   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 5   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 6   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 7   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 8   be van parking space. 2010 ADA Standards § 208.2.4.
 9         22.    Under the ADA, the method and color of marking are to be addressed by
10   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
11   Building Code (“CBC”), the parking space identification signs shall include the
12   International Symbol of Accessibility. Parking identification signs shall be reflectorized
13   with a minimum area of 70 square inches. Additional language or an additional sign
14   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
15   parking space identification sign shall be permanently posted immediately adjacent and
16   visible from each parking space, shall be located with its centerline a maximum of 12
17   inches from the centerline of the parking space and may be posted on a wall at the
18   interior end of the parking space. See CBC § 11B-502.6, et seq.
19         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
20   each entrance to an off-street parking facility or immediately adjacent to on-site
21   accessible parking and visible from each parking space. The additional sign shall not be
22   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
23   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
24   designated accessible spaces not displaying distinguishing placards or special license
25   plates issued for persons with disabilities will be towed always at the owner’s expense…”
26   See CBC § 11B-502.8, et seq.
27         24.    Here, Defendants failed to provide the parking space identification sign with
28   the International Symbol of Accessibility. In addition, Defendants failed to provide the



                                           COMPLAINT - 6
         Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 7 of 12 Page ID #:7




 1   signs stating “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
 2   to provide the additional sign with the specific language stating “Unauthorized vehicles
 3   parked in designated accessible spaces not displaying distinguishing placards or special
 4   license plates issued for persons with disabilities will be towed always at the owner’s
 5   expense…”
 6         25.      For the parking spaces, access aisles shall be marked with a blue painted
 7   borderline around their perimeter. The area within the blue borderlines shall be marked
 8   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 9   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
10   be painted on the surface within each access aisle in white letters a minimum of 12 inches
11   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
12   11B-502.3.3.
13         26.      A public accommodation shall maintain in operable working condition those
14   features of facilities and equipment that are required to be readily accessible to and usable
15   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
16         27.      By failing to maintain the facility to be readily accessible and usable by
17   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
18   regulations.
19         28.      The Business has denied and continues to deny full and equal access to
20   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
21   discriminated against due to the lack of accessible facilities, and therefore, seeks
22   injunctive relief to alter facilities to make such facilities readily accessible to and usable
23   by individuals with disabilities.
24                                 SECOND CAUSE OF ACTION
25                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
26         29.      Plaintiff incorporates by reference each of the allegations in all prior
27   paragraphs in this complaint.
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                                             COMPLAINT - 7
         Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 8 of 12 Page ID #:8




 1         30.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 2   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 3   national origin, disability, medical condition, genetic information, marital status, sexual
 4   orientation, citizenship, primary language, or immigration status are entitled to the full
 5   and equal accommodations, advantages, facilities, privileges, or services in all business
 6   establishments of every kind whatsoever.”
 7         31.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 8   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 9   for each and every offense for the actual damages, and any amount that may be
10   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
11   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
12   attorney’s fees that may be determined by the court in addition thereto, suffered by any
13   person denied the rights provided in Section 51, 51.5, or 51.6.
14         32.    California Civil Code § 51(f) specifies, “a violation of the right of any
15   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
16   shall also constitute a violation of this section.”
17         33.    The actions and omissions of Defendants alleged herein constitute a denial
18   of full and equal accommodation, advantages, facilities, privileges, or services by
19   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
20   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
21   51 and 52.
22         34.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
23   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
24   damages as specified in California Civil Code §55.56(a)-(c).
25                                  THIRD CAUSE OF ACTION
26                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
27         35.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                             COMPLAINT - 8
         Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 9 of 12 Page ID #:9




 1         36.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 2   entitled to full and equal access, as other members of the general public, to
 3   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 4   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 5   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 6   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 7   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 8   places of public accommodations, amusement, or resort, and other places in which the
 9   general public is invited, subject only to the conditions and limitations established by
10   law, or state or federal regulation, and applicable alike to all persons.
11         37.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
12   corporation who denies or interferes with admittance to or enjoyment of public facilities
13   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
14   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
15   the actual damages, and any amount as may be determined by a jury, or a court sitting
16   without a jury, up to a maximum of three times the amount of actual damages but in no
17   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
18   determined by the court in addition thereto, suffered by any person denied the rights
19   provided in Section 54, 54.1, and 54.2.
20         38.    California Civil Code § 54(d) specifies, “a violation of the right of an
21   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
22   constitute a violation of this section, and nothing in this section shall be construed to limit
23   the access of any person in violation of that act.
24         39.    The actions and omissions of Defendants alleged herein constitute a denial
25   of full and equal accommodation, advantages, and facilities by physically disabled
26   persons within the meaning of California Civil Code § 54. Defendants have
27   discriminated against Plaintiff in violation of California Civil Code § 54.
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                                            COMPLAINT - 9
        Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 10 of 12 Page ID #:10




 1         40.    The violations of the California Disabled Persons Act caused Plaintiff to
 2   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 3   statutory damages as specified in California Civil Code §55.56(a)-(c).
 4                                FOURTH CAUSE OF ACTION
 5                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 6         41.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         42.    Plaintiff and other similar physically disabled persons who require the use of
 9   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
10   such facility is in compliance with the provisions of California Health & Safety Code §
11   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
12   provisions of California Health & Safety Code § 19955 et seq.
13         43.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
14   that public accommodations or facilities constructed in this state with private funds
15   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
16   Title 1 of the Government Code. The code relating to such public accommodations also
17   require that “when sanitary facilities are made available for the public, clients, or
18   employees in these stations, centers, or buildings, they shall be made available for
19   persons with disabilities.
20         44.    Title II of the ADA holds as a “general rule” that no individual shall be
21   discriminated against on the basis of disability in the full and equal enjoyment of goods
22   (or use), services, facilities, privileges, and accommodations offered by any person who
23   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
24   Further, each and every violation of the ADA also constitutes a separate and distinct
25   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
26   award of damages and injunctive relief pursuant to California law, including but not
27   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
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                                           COMPLAINT - 10
          Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 11 of 12 Page ID #:11




 1                                   FIFTH CAUSE OF ACTION
 2                                         NEGLIGENCE
 3           45.   Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5           46.   Defendants have a general duty and a duty under the ADA, Unruh Civil
 6   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 7   to the Plaintiff.
 8           47.   Defendants breached their duty of care by violating the provisions of ADA,
 9   Unruh Civil Rights Act and California Disabled Persons Act.
10           48.   As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
11   has suffered damages.
12                                     PRAYER FOR RELIEF
13           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
14   Defendants as follows:
15           1.    For preliminary and permanent injunction directing Defendants to comply
16   with the Americans with Disability Act and the Unruh Civil Rights Act;
17           2.    Award of all appropriate damages, including but not limited to statutory
18   damages, general damages and treble damages in amounts, according to proof;
19           3.    Award of all reasonable restitution for Defendants’ unfair competition
20   practices;
21           4.    Reasonable attorney’s fees, litigation expenses, and costs of suit in this
22   action;
23           5.    Prejudgment interest pursuant to California Civil Code § 3291; and
24           6.    Such other and further relief as the Court deems just and proper.
25   //
26   //
27   //
28   //



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        Case 2:23-cv-04798 Document 1 Filed 06/19/23 Page 12 of 12 Page ID #:12




 1
 2                              DEMAND FOR TRIAL BY JURY
 3         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 4   demands a trial by jury on all issues so triable.
 5
 6   Dated: June 19, 2023                    SO. CAL. EQUAL ACCESS GROUP
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 8
 9                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
10                                                  Attorneys for Plaintiff
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